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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 BERKLEY INSURANCE CO., et al.,

               Plaintiffs,

        v.                                     Case No. 1:13-cv-1053 (RCL)

 FEDERAL HOUSING FINANCE
 AGENCY, et al.,

               Defendants.


 In re Fannie Mae / Freddie Mac Senior Pre-
 ferred Stock Purchase Agreement Class
 Action Litigations

 __________________                            Case No. 1:13-mc-01288 (RCL)

 This document relates to:
 ALL CASES


                                    NOTICE OF APPEAL

       Pursuant to Fed. R. App. P. 3(c)(1) and 4(a), notice is hereby given that all defendants in

the above-named cases appeal to the United States Court of Appeals for the District of Columbia

Circuit. Defendants appeal the final judgment entered on March 20, 2024 (13-cv-1053, ECF No.

428; 13-mc-01288, ECF No. 421), all errors of law, the Orders denying Defendants’ Rule 50(b)

Motion for Judgment as a Matter of Law dated March 14, 2025 (13-cv-1053, ECF Nos. 439, 440;

13-mc-01288, ECF Nos. 430, 431), and all earlier, merged judgments and orders, including, but

not limited to, the Orders granting in part and denying in part Defendants’ Motion to Dismiss

following remand (13-cv-1053, ECF Nos. 82, 83; 13-mc-01288, ECF Nos. 84, 85); the Orders

denying Defendants’ Motion for Reconsideration of the Order on the Motion to Dismiss following
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remand (13-cv-1053, ECF No. 99; 13-mc-01288, ECF No. 104); the Orders granting in part and

denying in part Defendants’ Motion for Summary Judgment (13-cv-1053, ECF Nos. 195, 206; 13-

mc-01288, ECF Nos. 189, 198); the bench Orders denying Defendants’ Motions under Rule 50(a)

and to decertify the classes in the first trial (Trial Tr. Oct. 31, 2022, Morning, 2449:3-2450-6, 13-

cv-1053, ECF No. 283); the bench Order denying Defendants’ Motion under Rule 50(a) in the

second trial (Trial Tr. Aug. 1, 2023, Afternoon, 1512:15, 13-cv-1053, ECF No. 379, 13-mc-01288,

ECF No. 369); the Orders granting Plaintiffs’ Motion for Entry of Final Judgment (13-cv-1053,

ECF No. 427; 13-mc-01288, ECF No. 420); and the Order Governing Plan of Allocation (13-cv-

1053, ECF No. 428-1; 13-mc-01288, ECF No. 421-1).



 Dated: April 11, 2025                       Respectfully submitted,

                                              /s/ Asim Varma
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                                   CERTIFICATE OF SERVICE

           I hereby certify that on April 11, 2025, the foregoing document and all attachments were

filed with the Clerk of the Court, using the CM/ECF system, causing them to be served on all

parties.

Dated: April 11, 2025                                                 /s/ Asim Varma
                                                                         Asim Varma




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